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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

____________________________________
                                             )
FREDRIK BRODEN,                              )
                                             )
               Plaintiff,                    )
                                             )      Civil Action No. 24-CV-10880-AK
v.                                           )
                                             )
PRIVATE BUSINESS JETS, LLC,                  )
d/b/a Fly Private,                           )
                                             )
               Defendant.                    )
                                             )

                                         JUDGMENT

A. KELLEY, D.J.

       Upon consideration of the Plaintiff’s Notice of Acceptance [Dkt. 33], and it appearing

that all of the conditions for entry of judgment under Federal Rule of Civil Procedure 68 have

been met, it is hereby ORDERED that the Clerk shall enter Judgment enter in favor of Plaintiff

and against Defendant in the amount of $3,000.00 and Costs in the amount of $480.00.



Dated: March 4, 2025                                               By the Court,

                                                                   /s/ Miguel Lara .
                                                                   Deputy Clerk
